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Election Identification Certificates
County Participation

| Day/Week | Date

Region 1A

Region 1B

Region 2A

Region 2B

Region 3

Region 4

Region 5

Region 6A

Region 6B

Garza County
Old Driver License Office
300 W Main, Post, TX
EIC Unit 56

Jack County
Law Enforcement Center
1432 Old Post Oak RD, Jacksboro, TX
EIC Unit 47

Roberts County
300 E Commercial, Miami, TX

EIC Unit 49
|Friday | 25 Oct
Sabine County Edwards County Crockett County Armstrong County Blanco County
County Administration Building Sheriff's Office County Courthouse Courthouse Basement District Court Room #23 on 2nd Floor
280 Main ST, Hemphill, TX 404 W Austin, Rock Springs, TX 909 Avenue D, Ozona, TX 287 and Trice, Claude, TX 101 E Pecan ST, Johnson City, TX
EIC Unit 98 EIC Unit EIC Unit 34 EIC Unit 59 EIC Unit 42
Oe CUNY Hudspeth County Briscoe County Salted oa County ;
Corn Oui nonee 525 N Wilson ST, Sierra Blanca, TX 415 Main, Silverton, TX A Healt and iu ien Sewices
501 S Ann ST, Brackettville, TX EIC Unit 26 , EIC Unit 61 , 423 E Wallace ST, San Saba, TX
EIC Unit Eic Unit 44
Jeff Davis County Clay County
County Courthouse THP Office Commissioners Court Room
100 N State ST, Fort Davis, TX 214 N Main, Henrietta, TX
EIC Unit 28 EIC Unit 57
Sterling County Collingsworth County
County Courthouse County Courthouse
609 4th AVE, Sterling City, TX 800 West AVE, Wellington, TX
EIC Unit 37 EIC Unit 58
Garza County
Old Driver License Office
300 W Main, Post, TX
EIC Unit 56
Jack County
Law Enforcement Center
1432 Old Post Oak RD, Jacksboro, TX
EIC Unit 47
Roberts County
300 E Commercial, Miami, TX
EIC Unit 49
Week 3
Monday | 28 Oct
Aransas County Borden County Archer County
County Courthouse County Courthouse County Courthouse
301 N Live Oak ST, Rockport, TX 117 E Wassom, Gail, TX 100 S Center ST, Archer City, TX
EIC Unit EIC Unit 33 EIC Unit 47
Edwards County Coke County Dickens County
Sheriff's Office County Courthouse North Dickens County Senior Center
404 W Austin, Rock Springs, TX 13 E 7th ST, Robert Lee, TX 511 Montgomery, Dickens, TX
EIC Unit EIC Unit 36 EIC Unit 56
La Salle County Loving County Foard County
County Courthouse County Courthouse Sheriff's Office Conference Room
101 Courthouse Square, Cotulla, TX 100 Bell ST, Mentone, TX 110 S First ST, Crowell, TX
EIC Unit EIC Unit 27 EIC Unit 57
Real County Hartley County
County Courthouse County Courthouse
146 Highway 83 S, Leakey, TX 900 Main ST, Channing, TX
EIC Unit EIC Unit 59
Motley County
County 2nd Courthouse
701 Dundee, Matador, TX
EIC Unit 61
[Tuesday | 29 Oct

Current as of 171000 October 2013

Somervell County
Somervell County Offices
107 Vernon, Glen Rose, TX
EIC Unit

Aransas County
County Courthouse
301 N Live Oak ST, Rockport, TX
EIC Unit

Borden County
County Courthouse
117 E Wassom, Gail, TX
EIC Unit 33

Archer County
County Courthouse
100 S Center ST, Archer City, TX
EIC Unit 47

Goliad County
Tax Assessor Collectors Office
329 Franklin, Goliad, TX
EIC Unit

Blanco County
Trinity Lutheran Church
703 N Main ST, Blanco, TX
EIC Unit 42

Kinney County
County Courthouse
501 S$ Ann ST, Brackettville, TX
EIC Unit

Crockett County
County Courthouse
909 Avenue D, Ozona, TX
EIC Unit 34

Dickens County
North Dickens County Senior Center
511 Montgomery, Dickens, TX
EIC Unit 56

Jackson County
County Annex DPS Office
411 N Wells, Edna, TX
EIC Unit

San Saba County
TX Health and Human Services
423 E Wallace ST, San Saba, TX
Eic Unit

La Salle County
County Courthouse
101 Courthouse Square, Cotulla, TX
EIC Unit

Sterling County
County Courthouse
609 4th AVE, Sterling City, TX
EIC Unit 37

Foard County
Sheriff's Office Conference Room
110 S First ST, Crowell, TX
EIC Unit 57

Mason County
Mason County Museum
505 Moody ST, Mason, TX
EIC Unit

Real County
County Courthouse
146 Highway 83 S, Leakey, TX
EIC Unit

Hartley County
County Courthouse
900 Main ST, Channing, TX
EIC Unit 59

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TEX0506122
